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   UNITED STATES BANKRUPTCY COURT
   FOR THE DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-2(c)

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   In re:                                                    Case No.: 23-13359 (VFP)

   BED BATH & BEYOND INC., et al.,                           Chapter: 11

                                       Debtors.              (Jointly Administered)

              OBJECTION OF 200-220 WEST 26 LLC TO FINAL APPROVAL
               OF DISCLOSURE STATEMENT AND TO CONFIRMATION
                      OF AMENDED JOINT CHAPTER 11 PLAN

        The objection (the “Objection”) of 200-220 West 26 LLC (“200-220 West 26”) to the

 final approval of the Amended Disclosure Statement Relating to the Amended Joint Chapter 11

 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [ECF No. 1713] (the “Disclosure

 Statement”), and the confirmation of the Amended Joint Chapter 11 Plan of Bed Bath & Beyond

 Inc. and Its Debtor Affiliates [ECF No. 1712] (the “Plan”), by its attorneys, respectfully sets

 forth the following:

                            Introduction and Summary of Objection

        1.      200-220 West 26 is the landlord of the premises leased by Buy Buy Baby Inc.

 (“Buy Buy Baby”), one of the jointly administered debtors, located at 200-220 West 26th Street,

 New York, New York. The obligations of Buy Buy Baby under the lease were guaranteed by



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 Bed Bath & Beyond Inc. (“BBBY”). This lease has been rejected by the Debtors and the

 rejection has been approved by this Court. 200-220 West 26 has filed proofs of claim against

 Buy Buy Baby and BBBY and will file an additional proof of claim against Buy Buy Baby for

 rejection damages prior to the deadline for doing so.

        2.      200-220 West 26 objects to the Disclosure Statement and the Plan because the

 Plan provides for what has been described as “de facto substantive consolidation” even though

 the Plan and Disclosure Statement expressly state that no substantive consolidation is provided.

 The reason the Plan provides for “de facto substantive consolidation” is that the unsecured

 claims against all of the Debtors – all 74 of them – are classified in a single class and receive the

 same treatment under the Plan, irrespective of the Debtors against which the claims are asserted.

 In essence, the assets and liabilities of the Debtors have been pooled for purposes of distribution.

        3.      The Disclosure Statement contains no information regarding the separate assets

 and liabilities of each Debtor and whether a creditor with a claim against one or more particular

 Debtors will be harmed or benefited from this pooling of assets for distribution. This does not

 allow 200-220 West 26 to make an informed decision whether to accept or reject the Plan.

        4.      Because the Plan pools the assets and liabilities of all the Debtors for purposes of

 distribution while at the same time purporting to preserve the separate identities of the Debtors

 for other purposes, including avoidance actions, such as constructive fraudulent transfer actions

 in which one related Debtor paid the debt owed by a different related Debtor (“Wrong Debtor

 Paid Avoidance Actions”), the Plan represents an abuse and has not been proposed in good faith.

        5.      As a result, the Court should not grant final approval to the Disclosure Statement

 and should deny confirmation of the Plan.




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                                   The Relevant Plan Provisions

        6.      Article I.G of the Plan, which is entitled “Nonconsolidated Plan,” provides as

 follows: “Although for purposes of administrative convenience and efficiency the Plan has been

 filed as joint plan for each of the Debtors and presents together Classes of Claims against, and

 Interests in, the Debtors, the Plan does not provide for the substantive consolidation of any of the

 Debtors.”

        7.      Article III.B of the Plan, which is entitled, “Treatment of Claims and Interests”

 contains the formal classification and treatment provisions of the Plan. Subparagraph 6 contains

 the classification and treatment of Class 6, and provides as to classification, “Class 6 consists of

 all General Unsecured Claims.” Article I.A, subparagraph 77 defines “General Unsecured

 Claim” to mean “any Claim other than (a) an Administrative Claim, (b) an Other Secured Claim,

 (c) a Priority Tax Claim, (d) an Other Priority Claim, (e) a FILO Claim, (f) a Junior Secured

 Claim, (g) an Intercompany Claim, (h) a DIP Claim, or (i) an ABL Claim . . . .” Article I.A,

 subparagraph 27 defines “Claim” by reference to section 101(5) of the Bankruptcy Code.

 Consequently, all General Unsecured Claims against all Debtors, including 200-220 West 26’s

 claims against Buy Buy Baby and BBBY are classified in Class 6.

        8.      Article III.B subparagraph 6 of the Plan provides the following treatment for the

 General Unsecured Claims against all 74 Debtors:

                . . . each Holder of an Allowed General Unsecured Claim shall
                receive its Pro Rata share of (i) the Shared Proceeds Pool, only if
                such proceeds are available after all senior Claims (other than the
                DIP Claims and FILO Claims) are paid in full and (ii) any
                remaining Distributable Proceeds available after payment in full of
                all senior Claims.

 It should be noted that the Disclosure Statement at page 8 projects the recovery of Class 6 at 0%

 to 2.5%.



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        9.      Article IV.F subparagraph 7 of the Plan, entitled “Preservation of Causes of

 Action,” provides in relevant part:

                        Unless any Causes of Action against an Entity are
                expressly waived, relinquished, exculpated, released,
                compromised, or settled in the Plan or a Bankruptcy Court order,
                in accordance with section 1123(b) of the Bankruptcy Code, on the
                Effective Date, all Causes of Action shall automatically vest in the
                Wind-Down Debtors, and the Plan Administrator shall have the
                right and authority to investigate, commence, prosecute, or settle,
                as appropriate, any of the Non-Released Claims, whether arising
                before or after the Petition Date.

 Article I.A subparagraph 25 defines “Causes of Action” to include “(d) any claim pursuant to

 section 362 or chapter 5 of the Bankruptcy Code.”



                             Requirements of a Disclosure Statement

        7.      Section 1125(b) of the Bankruptcy Code prohibits the solicitation of acceptances

 or rejections of a plan after the commencement of a bankruptcy case “unless, at the time of or

 before such solicitation, there is transmitted to [the holder of a claim] the plan or a summary of

 the plan and a written disclosure statement approved, after notice and a hearing, by the court as

 containing adequate information.” Section 1125(a)(1) of the Bankruptcy Code defines “adequate

 information” to mean sufficient information that would enable a typical creditor “to make an

 informed judgment about the plan.”

        8.      As the Third Circuit has stated, “we cannot overemphasize the debtor’s obligation

 to provide sufficient data to satisfy the Code standard of ‘adequate information.’” Oneida Motor

 Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 417 (3d Cir. 1988); accord Kristal Cadillac-

 Olds GMC Truck, Inc. v. General Motors Corp., 337 F.3d 314, 322 (3d Cir. 2003). The type of




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 information courts consider in determining whether there is adequate information, stated by then-

 Bankruptcy Judge, now-Circuit Judge R. Guy Cole, includes the following:

                   1. The circumstances that gave rise to the filing of the bankruptcy
                   petition;

                   2. A complete description of the available assets and their value;
                   3. The anticipated future of the debtor;

                   4. The sources of the information provided in the disclosure
                   statement;

                   5. A disclaimer, which typically indicates that no statements or
                   information concerning the debtor or its assets or securities are
                   authorized, other than those set forth in the disclosure statement; 1

                   6. The condition and performance of the debtor while in Chapter
                   11;

                   7. Information regarding claims against the estate;

                   8. A liquidation analysis setting forth the estimated return that
                   creditors would receive under Chapter 7;

                   9. The accounting and valuation methods used to produce the
                   financial information in the disclosure statement;

                   10. Information regarding the future management of the debtor,
                   including the amount of compensation to be paid to any insiders,
                   directors, and/or officers of the debtor;

                   11. A summary of the plan of reorganization;

                   12. An estimate of all administrative expenses, including
                   attorneys’ fees and accountants’ fees;

                   13. The collectability of any accounts receivable;

                   14. Any financial information, valuations or pro forma projections
                   that would be relevant to creditors’ determinations of whether to
                   accept or reject the plan;


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  In light of the Third Circuit’s decision in Century Glove, Inc. v. First Am. Bank, 860 F.2d 94, 101 (3d Cir. 1988),
 which holds that a disclosure statement provides a floor of relevant information, not a ceiling, such a disclaimer may
 no longer be appropriate.


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                15. Information relevant to the risks being taken by the creditors
                and interest holders;

                16. The actual or projected value that can be obtained from
                avoidable transfers;

                17. The existence, likelihood and possible success of non-
                bankruptcy litigation;

                18. The tax consequences of the plan; and

                19. The relationship of the debtor with affiliates.

 In re Scioto Valley Mortgage Co., 88 B.R. 168, 170-71 (Bankr. S.D. Ohio 1988); accord In re

 Budd Co., 550 B.R. 407, 412-13 (Bankr. N.D. Ill. 2016); In re Phoenix Petroleum Co., 278 B.R.

 385, 393 n.6 (Bankr. E.D. Pa. 2001); In re U.S. Brass Corp., 194 B.R. 420, 424-25 (Bankr. E.D.

 Tex. 1996).

        9.      With regard to a plan involving multiple debtors, in a reorganization case under

 the Bankruptcy Act, the Supreme Court held that it was error to confirm a plan of reorganization

 that had, in effect, consolidated a publicly held parent and its two wholly owned subsidiaries,

 which had each issued publicly traded bonds, into a new corporation and, without proper

 apportionment, issued securities to the creditors of each entity. Consolidated Rock Prods. Co. v.

 Du Bois, 312 U.S. 510-14 (1941). The Court reasoned that: “In the first place, there must be a

 determination of what assets are subject to the payment of the respective claims. This obvious

 requirement was not met.” Id. at 520. There is nothing in the Bankruptcy Code that has

 abrogated this rule. As the Supreme Court has stated on several occasions: “We will not read the

 Bankruptcy Code to erode past bankruptcy practice absent a clear indication that Congress

 intended such a departure.” Pa. Dep’t of Pub. Welfare v. Davenport, 495 U.S. 552, 563 (1990);

 accord Hamilton v. Lanning, 560 U.S. 505, 517 (2010); Travelers Cas. & Sur. Co. v. Pac. Gas &

 Elec. Co., 549 U.S. 443, 454 (2007)); see Kelly v. Robinson, 479 U.S. 36, 47 (1986) (“Just last



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 Term we declined to hold that the new Bankruptcy Code silently abrogated another exception

 created by courts construing the old Act.”) (citing Midlantic Nat’l Bank v. N.J. Dep’t of Env’t

 Prot., 474 U.S. 494 (1986)).



                 Final Approval of the Disclosure Statement Should Be Denied

        10.     An examination of the Debtors’ Disclosure Statement shows the complete

 absence of any material financial information, on either a consolidated or debtor-by-debtor basis.

 In particular, there is nothing approaching a “complete description of the available assets and

 their value” (Scioto factor 2); no separate liquidation analysis with dollar values assigned to

 assets (Scioto factor 8); no estimate of administrative expenses (Scioto factor 12); no estimate of

 the collectability of any accounts receivable (Scioto factor 13); no valuations or pro forma

 projections (Scioto factor 14); no estimate of the value that could be obtained from avoidance

 actions (Scioto factor 16); and no discussion of the likelihood or probable success of non-

 bankruptcy litigation (Scioto factor 17). Although not every factor is relevant to every case, in

 this case, there is a disqualifying dearth of financial information in the Disclosure Statement.

        11.     Significantly, for a plan that pools assets and liabilities for voting and distribution

 purposes without a prior or contemporaneous motion for substantive consolidation, there is a

 complete absence of disclosure of the financial condition of each Debtor. It is respectfully

 submitted that in the absence of such disclosure, the creditors of any one Debtor have no idea

 whether pooling the assets of all the Debtors is beneficial or harmful to such creditors. Under

 such circumstances, the creditors of these Debtors have not received adequate information within

 the meaning of section 1125 of the Bankruptcy Code.




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        12.     Significantly, the Debtors cannot remedy the lack of disclosure prior to the

 solicitation of acceptances and rejections by making the appropriate disclosures in advance of the

 confirmation hearing, without providing a new solicitation period. For these reasons, the final

 approval of the Disclosure Statement should be denied.



                          Improper De Facto Substantive Consolidation

        13.     The Third Circuit has defined substantive consolidation in the following manner:

 “It treats separate legal entities as if they were merged into a single survivor left with all

 cumulative assets and liabilities (save for inter-entity liabilities, which are erased). The result is

 that claims of creditors against separate debtors morph to claims against the consolidated

 survivor.” In re Owens Corning, 419 F.3d 195, 205 (3d Cir. 2005) (quoting Genesis Health

 Ventures, Inc. v. Stapleton (In re Genesis Health Ventures, Inc.), 402 F.3d 416, 423 (3d Cir.

 2005)) (internal quotation marks omitted).

        14.     Although, as stated above, the Plan expressly provides that it is not substantively

 consolidating any estates, the classification of General Unsecured Claims against all Debtors in a

 single class and the distribution to such class from a pool of the assets of the all the Debtors

 provides material effects of substantive consolidation. Indeed, courts have labeled plans with

 similar results, de facto substantive consolidation. Buchwald Capital Advisors LLC v. JP

 Morgan Chase Bank, N.A. (In re M. Fabrikant & Sons, Inc.), Bankr. No. 06-12737 (SMB), Adv.

 Nos. 07-02780, 08-01734 (SMB), 2009 WL 3806683, at *10 (Bankr. S.D.N.Y. Nov. 10, 2009);

 see In re Sabine Oil & Gas Corp., 555 B.R. 180, 317 (Bankr. S.D.N.Y. 2016) (rejecting a de

 facto substantive consolidation objection, when each claim against a debtor was treated as a

 separate claim against the applicable debtor, the ballots were generated on a debtor-by-debtor




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 basis, the voting results were tabulated in the same manner, and the debtors were not pooling

 their assets and liabilities, but instead providing the same recovery to the various classes as a

 result of a major settlement). Indeed, without labeling a plan as providing for improper de facto

 substantive consolidation, the district court in Schroeder v. New Century Liquidating Trust (In re

 New Century TRS Holdings, Inc.), 407 B.R. 576, 591-92 (D. Del. 2009), reversed confirmation

 of a plan that provided such results without satisfying the Third Circuit’s requirements for

 substantive consolidation.

        15.     In the Third Circuit, the test for granting substantive consolidation is: Either pre-

 petition the debtor entities disregarded their separateness so significantly that their creditors

 relied on the breakdown of entity borders and treated them as one; or post-petition their assets

 and liabilities are so entangled that separating them is prohibitive and hurts all creditors. Owens

 Corning, 419 F.3d at 211. Owens Corning also enunciated a set of five principles intended to

 restrict the use of substantive consolidation. These are: (1) limiting the cross-creep of liability by

 respecting entity separateness; (2) the harms substantive consolidation addresses are nearly

 always caused by debtors that disregard separateness (harms caused by creditors’ disregard of

 separateness are addressed by other remedies, such as fraudulent transfer and equitable

 subordination); (3) mere benefit to the administration of the estate by simplifying case or making

 post-petition accounting more convenient is insufficient to merit substantive consolidation; (4)

 because substantive consolidation is extreme and imprecise, this “rough justice” must be used

 rarely and as a last resort; and (5) substantive consolidation may only be used defensively to

 remedy harms causes by entangled affairs, and not offensively to disadvantage creditors in the

 plan process or otherwise affect their rights. Id.




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        16.     In the present case, no disclosure and no showing have been made to satisfy either

 requirement or address any of the five principles set forth in Owens Corning. A plan that

 provides for such improper de facto substantive consolidation should not be confirmed. See New

 Century TRS Holdings, 407 B.R. at 591-92.



               Improper Preservation of Wrong Debtor Paid Avoidance Actions

        17.     One of the benefits of disavowing substantive consolidation in the Plan, even as

 the Class 6 creditors of the different Debtors receive the same treatment, is the retention, at least

 facially, of the ability to pursue Wrong Debtor Paid Avoidance Actions. The theory of the

 fraudulent transfer action is actually both simple and standard. The Debtor that made the

 transfer, by paying a debt not its own, did not satisfy any of its own antecedent debt, and

 received no other form of consideration in exchange for the transfer. In the words of the relevant

 fraudulent transfer or voidable transaction statutes, the Debtor that paid did not receive

 reasonably equivalent value in exchange for the payment. If the debtor was insolvent,

 undercapitalized, or incurring debts beyond its ability to pay when such debts came due, then the

 transfer may be avoided and recovered from the initial transferee. See 11 U.S.C. §§ 544(a)-(b),

 548(a)(1)(B)(ii)(I)-(III), 550(a)(1); UNIF. VOIDABLE TRANSACTIONS ACT §§ 4(a)(2)(i)-(ii), 5(a).

        18.     This kind of avoidance action requires that the Debtor that paid maintains an

 identity wholly separate from the Debtor that owed the debt. A unity of interest between these

 two debts permits a defense that an indirect benefit to the Debtor that paid constitutes reasonable

 equivalent value. Mellon Bank, N.A. v. Metro Communications, Inc., 945 F.2d 635, 646-47 (3d

 Cir. 1991); Rubin v. Manufacturers Hanover Trust Co., 661 F.2d 979, 991 (2d Cir. 1981).




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        19.     An important situation in which indirect benefit is widely recognized is where

 “the debtor and the third party are so related or situated that they share an ‘identity of interests,’

 because what benefits one will, in such case, benefit the other to some degree.” Garrett v.

 Falkner (In re Royal Crown Bottlers of N. Ala., Inc.), 23 B.R. 28, 30 (Bankr. N.D. Ala. 1982);

 accord Armstrong v. Collins, No. 01 Civ. 2437 (PAC), 2010 WL 1141158, at *28 (S.D.N.Y.

 Mar. 24, 2010); Smith v. Am. Founders Fin. Corp., 365 B.R. 647, 667 (S.D. Tex. 2007);

 TeleFest, Inc. v. VU-TV, Inc., 591 F. Supp. 1368, 1378 (D.N.J. 1984); Reinbold v. Morton

 Community Bank (In re Mid-Illini Hardwoods, Inc.), 576 B.R. 598, 607 (Bankr. C.D. Ill. 2017);

 Riley v. Countrywide Home Loans, Inc. (In re Duplication Mgmt., Inc.), 501 B.R. 462, (Bankr.

 D. Mass. 2013); Pembroke Dev. Corp. v. Commonwealth. Sav. & Loan (In re Pembroke Dev.

 Corp.), 124 B.R. 398, 400 (Bankr. S.D. Fla. 1991); First Nat’l Bank v. Minn. Util. Contracting,

 Inc. (In re Minn. Util. Contracting, Inc.), 101 B.R. 72, 85 (Bankr. D. Minn. 1989).

 Of course, if the paying debtor is substantively consolidated with the owing debtor, their identity

 of interests is established a fortiori. Stated differently, substantive consolidation eliminates

 Wrong Debtor Paid Avoidance Actions. Moran v. Hong Kong & Shanghai Banking Corp. (in re

 Deltacorp, Inc.), 179 B.R. 773, 779 (Bankr. S.D.N.Y. 1995); Gill v. Sierra Pac. Constr., Inc. (In

 re Parkway Calabasas Ltd.), 89 B.R. 832, 834, 840 (Bankr. C.D. Cal. 1988), aff’d, 949 F.2d

 1058 (9th Cir. 1991).

        20.     The Plan, by expressly disavowing substantive consolidation, while pooling

 liabilities and assets for purposes of voting and distribution, is attempting to obtain an improper

 benefit from an inequitable result. Woe unto the creditors who got paid from the wrong set of

 assets pre-petition, but it does not matter at all if these creditors get paid from the same set of

 assets post-petition. This is an abuse of the bankruptcy system and should not be permitted.




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                               Specific Objections to Confirmation

        21.     Improper Classification: Because claims against different Debtors with

 potentially different liquidation values are classified in the same class, the Plan has placed

 substantially dissimilar claims in the same class in violation of section 1122(a) of the Bankruptcy

 Code. See In re Jersey City Med. Ctr., 817 F.2d 1055, 1060 (3d Cir. 1987) (forbidding the

 placement of dissimilar claims in the same class). Therefore, the Plan does comply with the

 application provisions of the Bankruptcy Code and does not satisfy the requirement of

 confirmation in section 1129(a)(1) of the Bankruptcy Code.

        22.     Improper De Facto Substantive Consolidation: Because the Plan improperly

 provides for de facto substantive consolidation without satisfying the requirements of Owens

 Corning, it does not comply with the applicable provisions of the Bankruptcy Code and does not

 satisfy the requirement of confirmation in section 1129(a)(1) of the Bankruptcy Code.

        23.     Solicitation Without a Finally Approved Disclosure Statement: Because the

 Court should not grant final approval of the Disclosure Statement, for the reasons stated above,

 and therefore, the solicitation of acceptances and rejections occurred without a disclosure

 statement containing adequate information within the meaning of section 1125 of the Bankruptcy

 Code, the proponent of the Plan has not complied with the applicable provisions of the

 Bankruptcy Code, and the Plan does not satisfy the requirement of confirmation in section

 1129(a)(2) of the Bankruptcy Code.

        24.     Improper Preservation of Wrong Debtor Paid Avoidance Actions: Because the

 Plan pools assets and liabilities for purposes of voting and distribution while at the same time

 preserving the separate identities of the Debtor for the purpose of preserving Wrong Debtor Paid




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 avoidance actions, the Plan was not proposed in good faith and does not satisfy the requirement

 of confirmation in section 1129(a)(3) of the Bankruptcy Code.

        25.     Failure to Satisfy the Best Interest Test: Because there is no demonstration of

 what each creditor in Class 6 would receive if the particular Debtor against which such creditor’s

 claim is asserted were liquidated under chapter 7 of the Bankruptcy Code on the effective date of

 the Plan, the Plan does not satisfy the requirement of confirmation in section 1129(a)(7) of the

 Bankruptcy Code.



        WHEREFORE, 200-220 West 26 respectfully requests that the Court sustain this

 Objection, decline to grant final approval to the Disclosure Statement, deny confirmation of the

 Plan, and grant 200-220 West 26 such other and further relief as is just.

 Dated: August 30, 2023

                                               BECKER, GLYNN, MUFFLY, CHASSIN &
                                               HOSINSKI LLP


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                                CERTIFICATION OF SERVICE

        I hereby certify that in accordance with the Notice the forgoing Objection is being served
 contemporaneously with its filing with the Court upon the following designated parties via ECF
 or email:

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        Bradford J. Sandler




        I hereby certify under penalty of perjury that the foregoing is true and correct.

 Dated: August 30, 2023                        BECKER, GLYNN, MUFFLY, CHASSIN &
                                               HOSINSKI LLP

                                               By:    s/Walter E. Swearingen
                                               Walter E. Swearingen




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